      EXHIBIT 23




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                                                 In general, the business structure for all the work that is
                                            performed has intellectual property development at its core. This
                                                intellectual property (IP) is held in an LLC for a variety of
                                                         strategic, tactical and valuation purposes.




                                                            Inspired Pursuits, LLC is the holder of
                                                            all software, software design,
                                                            engineering analysis, testing and
                                                            related IP information and data that
                                                            supports the creation of innovative truss
                                                            design and truss manufacturing
                                                            software and methods. Paragon and
                                                            DrJ each have license agreements
                                                            specific to this and other IP to use to
                                                            create truss design and manufacturing
                                                            competitive advantages for CMs.




Paragon Component Systems and DrJ Engineering, LLC are two independent companies using needed parts of the Inspired
Pursuits IP to create unique value for each of the customers Paragon and DrJ serve together as a team. Currently the service
that Paragon and DrJ are providing for the CM market is similar to MiTek’s Workflow program. The Paragon program accepts
output from MiTek, Alpine, Eagle and Simpson software to facilitate the sealing process. Any review and investigation required
is accomplished using the proprietary software under the license of the CM. This is a very unique and valuable program that
has been in use since 2016 by our customers. Customer feedback is that this provides a very professional set of engineered
and sealed design drawings with a high level of responsive customer service.




            Paragon has a license agreement with one or                                        DrJ has a license agreement with one or
            more of the IP holders that Paragon is                                             more of the IP holders that DrJ is working
            working with. Eventually the Paragon                                               with. DrJ uses the licensed IP to provide
            software will replace current proprietary                                          unique sealed engineering services that
            software. Truss designs will be produced on                                        are backed up by testing and generally
            Paragon design drawings, which will be                                             accepted engineering analysis. The truss
            generated by Paragon licensed CMs. These                                           design process uses proprietary industry
            will be reviewed and sealed by DrJ as the                                          software to produce the truss design and
            engineering company licensed to also use                                           truss repair drawings. Currently DrJ seals
            the LLC’s IP. Paragon currently supports                                           truss designs, truss repairs, StrongEnd™
            truss designs, truss repairs, StrongEnd™                                           truss designs, other proprietary specialty
            truss designs, etc., which are sealed by DrJ.                                      engineering designs, etc.




                                            Currently Paragon and DrJ work with a significant number
                                            of CMs. References provided upon request.




Collaborative Organizations Supporting CMs                                                                                                  Page 1 of 6
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